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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                                DISTRICT OF HAWAI‘I

  SEFO FATAI,                            )   CIVIL NO. 1:19-cv-603 JMS/WRP
                                         )
        Plaintiff,                       )   FIRST AMENDED COMPLAINT FOR
                                         )   DAMAGES AND OTHER RELIEF
                                         )
               v.                        )   JURY TRIAL DEMANDED
                                         )
  CITY AND COUNTY OF HONOLULU,           )
  POLICE CHIEF LOUIS KEALOHA,            )
  SERGEANT EDGAR NAMOCA,                 )
  LIEUTENANT MARK KAWASAKI,              )
  OFFICER MARK RAMOS; OFFICER            )
  FUMIKAZU MARAOKA, OFFICER              )
  JOSHUA NAHULU, OFFICER B.              )
  SUGAI, and JOHN and/or JANE DOES       )
  1-10,                                  )
                                         )
        Defendants.                      )

                            FIRST AMENDED COMPLAINT

        Plaintiff, SEFO FATAI, by and through his attorneys, JENNIFER BROWN,

  and LOEVY & LOEVY, hereby complains against Defendants CITY AND COUNTY

  OF HONOLULU, POLICE CHIEF LOUIS KEALOHA, SERGEANT EDGAR

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  NAMOCA, LIEUTENANT MARK KAWASAKI, OFFICER MARK RAMOS; OFFICER

  FUMIKAZU MARAOKA, OFFICER JOSHUA NAHULU, OFFICER B. SUGAI, and

  JOHN and/or JANE DOES 1-10 (collectively “Defendants”) and alleges as follows:

                                      INTRODUCTION

        1.     Plaintiff Sefo Fatai was wrongfully arrested, prosecuted, and

  incarcerated for drug crimes he did not commit. Plaintiff is not a drug dealer and had

  absolutely no arrests, let alone convictions or other history, related to the criminal

  drug trade of narcotics. Nonetheless, Plaintiff was arrested and prosecuted for the

  distribution of methamphetamine due to the misconduct of Honolulu Police

  Department (HPD) officers, who knew Plaintiff was innocent but prosecuted him

  anyway.

        2.     In so doing, the HPD officers put false and misleading claims into their

  reports; suppressed evidence of their own misconduct, including in manipulating

  witnesses; hid the fact they knew Plaintiff was innocent and had manipulated and

  coerced false witness statements; and secreted the fact they fabricated police reports

  and warrant applications to deprive Plaintiff of liberty year after year. This heinous

  ordeal, which began in 2011, did not end until 2018, when the bogus charges were

  finally dismissed with prejudice.

        3.     Through the course of some seven years, three of which he spent

  wrongfully in custody, Plaintiff had to fight criminal charges that were not supported

  by probable cause but, instead, were only made possible due to the fabricated and

  untrue account created by HPD officers acting pursuant to the policies, practices, and

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  customs of the City of Honolulu.

        4.     Though nothing can bring back the time Defendants have taken from

  Plaintiff, this action seeks to hold accountable the actions of those who arrested,

  prosecuted, and framed Plaintiff for crimes he did not commit. In addition, this action

  seeks to deter officers within the City of Honolulu, whose policies, practices, and

  customs were the moving force behind the violation of Plaintiff’s constitutional rights.

                                         PARTIES

        5.      Plaintiff SEFO FATAI (“Plaintiff”) is and was at all times relevant

  hereto, a citizen and resident of the City and County of Honolulu, State of Hawai‘i.

        6.      Defendant CHIEF LOUIS KEALOHA is and was at all times relevant

  hereto, a citizen and resident of the City and County of Honolulu, State of Hawai‘i.

  Defendant Kealoha was the Chief of the Honolulu Police Department at all times

  relevant hereto and is sued in both his individual and official capacities.

        7.      Defendants MARK RAMOS, FUMIKAZU MURAOKA, JOSHUA

  NAHULU, B. SUGAI, SERGEANT EDGAR NAMOCA, and LIEUTENANT MARK

  KAWASAKI were at all times relevant hereto, citizen and residents of the City and

  County of Honolulu, State of Hawai‘i, were, at all times relevant, employed as police

  officers by the City and County of Honolulu; and are sued their individual capacities

  unless otherwise noted.

        8.      Defendants JOHN and/or JANE DOES 1-10 (hereinafter jointly referred

  to as “DOE DEFENDANTS”) are individuals whose true identities and capacities are

  unknown to Plaintiff and his counsel, despite diligent inquiry and investigations, and

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  who acted as described more particularly below in connection with their breaches of

  duties and/or violations of law, and who in some manner or form not currently

  discovered or known to Plaintiff may have contributed to or been responsible for the

  civil rights violations, civil wrongs, and injuries alleged herein. The true names and

  capacities of DOE DEFENDANTS will be substituted as they become known to the

  Plaintiff. DOE DEFENDANTS are sued both in their individual and official capacities.

        9.      At all times relevant to the events described in this complaint,

  Defendants KEALOHA, NAMOCA, and KAWASAKI were supervisors and/or the final

  policymaker for the Honolulu Police Department (together the “Supervising HPD

  Defendants”). The Supervising HPD Defendants were responsible for overseeing the

  prosecution of Plaintiff, and in that capacity they directed, reviewed, approved, and

  ratified decisions of the other Defendants, including but not limited to Defendants

  RAMOS, MURAOKA, NAHULU, and SUGAI (together the Police Officer

  Defendants”), as well as engaging in investigative activities themselves. The

  Supervising HPD Defendants had knowledge of the investigative steps taken and

  evidence generated by other Police Officer Defendants. The individually named

  defendants are referred to herein as the “Individual Defendants.”

        10.     Defendant CITY AND COUNTY OF HONOLULU is and was at all

  times relevant hereto, a duly organized municipal corporation in the City and County

  of Honolulu, State of Hawai‘i. The City and County of Honolulu (“City” or “Honolulu”)

  is or was the employer of the Individual Defendants named above. The City is

  responsible for indemnifying judgments against the Individual Defendants. In


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  addition, it is liable for all torts the Defendants committed pursuant to the doctrine of

  respondeat superior. Finally, it is liable for violations of Plaintiff’s rights caused by the

  unconstitutional policies and customs of the City and County of Honolulu, including

  actions of Individual Defendants undertaken pursuant to those policies and customs

  during the prosecution of Plaintiff. The Supervising HPD Defendants and others had

  final policymaking authority for the policies and customs of the Honolulu Police

  Department. The City and County of Honolulu is referred to as “Honolulu” in this

  complaint.

                              JURISDICTION AND VENUE

        11.     The claims asserted present a question of federal law thereby conferring

  jurisdiction upon this court pursuant to 28 U.S.C. §§ 1331, 1334(3).

        12.     This Court has jurisdiction over Plaintiff’s state law claims pursuant to

  28 U.S.C. § 1367.

        13.     Venue is proper under 28 U.S.C. § 1391(b) as, on information and belief,

  Defendants reside in this judicial district, and the events and omissions giving rise to

  Plaintiff’s claims occurred within this judicial district in the State of Hawai‘i.

                                 FACTUAL ALLEGATIONS

                                    Plaintiff Is Innocent

        14.    In 2011, Plaintiff Sefo Fatai worked as a laborer, had stable housing, and

  was a mechanic by trade.

        15.    Plaintiff was not involved in the drug trade whatsoever.




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   Defendants Use Threats and Promises To Manufacture An “Informant” To
                      Participate in a Controlled Buy

        16.    Unbeknownst to Plaintiff, the Police Officer Defendants had decided to

  make a “deal” with a woman, Kristine Medford, to attempt to arrest someone for drug

  trafficking charges. The Police Officer Defendants never disclosed this “deal” to

  Plaintiff’s criminal defense attorneys or Honolulu prosecutors.

        17.    This plan began after Defendant Ramos pulled Medford over and found

  methamphetamines in her car.

        18.    This was the first time Defendant Ramos had met this woman and none

  of the other Police Officer Defendants were familiar with Medford either.

        19.    Upon finding the methamphetamine, Defendant Ramos made Medford a

  threat—to implicate someone else in the drug trade as a “confidential informant” or

  face felony prosecution and arrest herself.

        20.    Defendant Ramos also made a promise: favorable treatment in the

  criminal justice system by Defendants if she provided assistance to act as an

  informant.

        21.    The remaining Police Officer Defendants met with Ramos and agreed to

  institute this plan, which was further approved by the Supervising HPD Defendants.

        22.    The Police Officer Defendants knew that Medford was likely to be

  completely unreliable as an informant and buyer, as they had never worked with her

  before and she had a lengthy criminal history, including other arrests and convictions

  for crimes relating to drugs and dishonesty.

        23.    Defendants also knew that Medford was likely using methamphetamines
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  regularly, which they knew negatively impacted her reliability.

        24.    Defendants knew that working with an informant in a drug case requires

  strict protocol, given that such informants can, and sometimes have, taken money or

  drugs in what are supposed to be “controlled” buy situations.

        25.    Defendants also knew that working with an informant/buyer in a drug

  case, where the impetus for doing so is avoiding a serious felony charge requires that

  any action taken pursuant to an agreement to work as an informant be done

  voluntarily, and without threat.

        26.    Nonetheless, with approval from the Supervising HPD Defendants, the

  Police Officer Defendants made both promises and threats to Medford to convince her

  to serve as an informant and participate in a controlled by.

        27.    As part of this, Defendants told Medford they wanted her to provide them

  with access to her drug supplier, not a mere drug “user.”

        28.    The Police Officer Defendants also made threats to Medford about not

  seeing her children if she did not comply with their wishes.

        29.    Defendants were searching for a higher-level drug dealer and pressured

  Medford to lead them to one, even though they knew revealing such information could

  endanger the life of Medford and/or her children.

        30.    In light of Defendants threats—including those that would take her from

  her children—and other promises and incentives, Medford was compelled to serve as

  an “informant” and participate in a controlled “buy” for the Individual Defendants.

        31.    The Supervising HPD Defendants approved of these acts and the Police


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  Officer Defendants’ plan.

        32.    Medford was unwilling to provide the Police Officer Defendants with the

  true identity of her drug supplier and was, unsurprisingly, unwilling to set up the

  person who actually supplied her with methamphetamines.

        33.    The Individual Defendants had coerced and/or incentivized Medford to do

  a sort of “controlled buy” of methamphetamines, whereby Defendants would provide

  Medford with cash to purportedly use to purchase drugs. The full extent of Defendants

  actions in coercing and/or making promises to Medford remain unknown to Plaintiff,

  as they still have not been fully disclosed.

        34.    Medford contacted Tanya Waller, whom she owed money.

        35.    Waller ran her own business planting seeds and cleaning homes and

  residential buildings and was not a drug dealer.

        36.    Nonetheless, Medford called Waller and asked her to meet her, saying

  she had the money she owed.

        37.    Waller was unavailable and asked Plaintiff to run this errand for her and

  get the money owed as a debt.

        38.    Though they easily had the ability to do so, the Individual Defendants did

  not monitor or listen to the phone call between Medford and Waller.

        39.    Instead, when Medford arranged to meet with Waller she used her own

  personal cell phone, which was not being monitored or recorded and had not been

  “tapped.”

        40.    Waller told Medford that she was going to send Plaintiff, who she


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  referred to as “Junior,” to retrieve what she thought was payment for a debt.

         41.    As with the phone call, the Individual Defendants took no precautions in

  setting up the purported controlled buy they had coerced and/or incentivized Medford

  to participate in.

         42.    For example, on August 25, 2011, the Individual Defendants gave

  Medford $1,900 to complete the purported drug buy but Defendants did not mark or

  add any special identifiers to this money, despite knowing that, for a controlled buy to

  be successful, the officers would need to be able to confirm that the money they

  provided the informant was later recovered by the suspect as the purported seller of

  the drugs.

         43.    Before giving Medford the money, the Police Officer Defendants did not

  conduct a search of Medford to ensure that she did not have any drugs, weapons, or

  other paraphernalia in her possession.

         44.    The Police Officer Defendants also permitted Medford to drive her own,

  private vehicle, which they also did not search.

         45.    The Police Officer Defendants did not have Medford wear a “wire” or

  other device that would have recorded the interactions with the purported drug seller.

         46.    Nor did the Police Officer Defendants set other parameters for the buy,

  like requiring it to take place in a location where the officers could actually observe a

  transaction take place.

         47.    As she had just days before when Defendant Ramos pulled her over,

  Medford still had methamphetamines in her possession and in her car.


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          48.   The meeting place was a Chuck E. Cheese parking lot.

          49.   More than an hour transpired between when Medford obtained the $1900

from the Police Officer Defendants before she met Plaintiff.

          50.   Prior to August 24, 2011, neither Medford nor the Police Officer

Defendants had ever spoken to or otherwise interacted with Plaintiff.

          51.   Plaintiff has no history, criminal or otherwise, of being a drug user or

seller.

          52.   The Police Officer Defendants and Medford knew Plaintiff would be

driving a 1999 silver Lexus.

          53.   The Police Officer Defendants had the ability to try to identify Plaintiff

from his car licensing information, which would have illustrated no history of drug

trafficking or the like.

          54.   When Plaintiff drove to the Chuck E. Cheese parking lot, the Police

Officer Defendants were able to run his plates and determine his identity and

background.

          55.    Plaintiff had absolutely no idea that the Police Officer Defendants had

coerced and/or incentivized Medford to attempt to have him engage in a controlled buy

despite his innocence.

          56.   Acting pursuant to the plan the Police Officer Defendants had created

and convinced her to follow, and as approved by the Supervising HPD Defendants,

Medford approached Plaintiff’s automobile from the passenger side, and without

asking permission, entered Plaintiff’s automobile from the front passenger side.


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      57.    Though some of the Police Officer Defendants, all in plain clothes, were

positioned in strategic locations near the Chuck E. Cheese none of them were in a

position to actually observe, monitor, or listen to any interactions between Plaintiff

and Medford inside the car.

      58.    Nor did the Police Officer Defendants take any efforts to have Medford

remain in plain sight and not get in Plaintiff’s car.

      59.    Once she was inside the vehicle, Plaintiff asked Medford for the $100

that he was supposed to be picking up for Waller.

      60.    Instead of handing Plaintiff the $100, Medford tried to give Plaintiff a

small plastic baggie of methamphetamine.

      61.    Plaintiff refused to take the drugs, and refused to use the drugs as a

substitute for the debt Medford owed Waller.

      62.    The Police Officer Defendants watched Medford get out of Plaintiff’s car,

get into her vehicle and drive away.

      63.    The Police Officer Defendants observed that Medford did not have

anything in her hands, and did not see anything indicative of drugs that she had just

supposedly purchased from Plaintiff.

      64.    The Police Officer Defendants did not follow Medford, did not conduct an

immediate search, and did not monitor her movements.

      65.    As Plaintiff left the Chuck E. Cheese parking lot, he was immediately

followed by two motorcycle officers, Doe Defendants, who followed him. As did

Defendant Murakoa.


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      66.    As Doe Defendants and Defendant Murakoa were following Plaintiff,

they were able to run his plates and get his background information, which was not in

any way consistent with being a drug dealer.

             Defendants’ First Attempt at A “Controlled Buy” Fails
                      and Shows Plaintiff’s Innocence

      67.    Nonetheless, the Police Officer Defendants instructed the Doe

Defendants pull Plaintiff over and conduct an extensive search of his Lexus.

      68.    The Police Officer Defendants knew that they needed to recover the

$1900 in order to attempt to implicate Plaintiff in a controlled buy.

      69.    Plaintiff was pulled over by the two motorcycle officers, Doe Defendants,

who did not indicate why they stopped Plaintiff. Though he had not committed any

crime, Plaintiff was ordered to get out of his vehicle.

      70.    Doe Defendants, in view of Defendant Murakoa who was parked there,

thoroughly searched Plaintiff's person, including his pockets, socks, and shoes.

      71.    Doe Defendants then thoroughly searched Plaintiff’s automobile

including the interior passenger compartment as well as the trunk.

      72.    During the search, the officers did not find any drugs in the car or in

Plaintiff’s possession whatsoever.

      73.    During the search, the officers did not find any money, and did not find

the $1900 in buy money.

      74.    Eventually, Plaintiff was released and falsely told he had been stopped

for a traffic violation, though he was not given a ticket.

      75.    Meanwhile, Medford was driving over five miles away from the Chuck E.
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Cheese to a pre-arranged meeting place, the parking area near Walmart in Kunia.

      76.    Medford was not visually observed or visually monitored by the Police

Officer Defendants as she drove her personal vehicle from Chuck E. Cheese to Kunia,

even though there were ample officers on hand and they knew that ensuring Medford

was closely monitored was important.

      77.    The Police Officer Defendants knew that, to have a successful drug buy,

they needed to be able to link any drugs from the “buyer” (Medford) to a suspect,

which required ensuring that any drugs did not come from any other source, that no

drugs were taken, hidden, or ingested by the buyer, or otherwise compromised.

      78.    The Police Officer Defendants also knew that they would need to be able

to recover any of the $1900 from Medford that she had not given Plaintiff.

      79.    In this circumstance, that was the entire $1900.

      80.    Nonetheless, between the time Medford left the Chuck E. Cheese parking

lot, until the time she finally met with the Police Officer Defendants in Kunia,

Medford was afforded significant opportunity to hide or otherwise secret the $1,900 in

buy money provided to her by the Police Officer Defendants.

      81.    Even though no officer saw Medford exit Plaintiff’s vehicle with any

package, container, or items in her hand or on her person, Medford gave Defendant

officers a Crystal Light box which contained a clear Ziploc baggie with approximately

two ounces of methamphetamines inside, which Medford claimed to have purchased

from Plaintiff.

      82.    The Police Officer Defendants knew that Medford’s claims did not add up.


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      83.     For example, Medford did not offer the Police Officer Defendants any

money as change, which Defendants expected (as they expected her to buy much less

than $1900 worth of methamphetamine).

      84.     The officers had also not observed Medford with the Crystal Light box, or

anything remotely resembling it when she walked from Plaintiff’s car back to her own.

      85.     Nonetheless, even after finding absolutely no buy money or drugs on

Plaintiff, the Police Officer Defendants still did not search Medford and did not search

her car.

      86.     At this point it was obvious that Medford had not engaged in any drug

exchange with Plaintiff but that the officers had lost $1900 in Department money, and

they needed to make up for their glaring mistakes.

      87.     Contrary to standard undercover narcotic police practice contained in the

Honolulu Police Department’s Narcotics/Vice Narcotics Operational Plan, as approved

by the Supervising HPD Defendants, the Police Officer Defendants followed an

unwritten practice of ignoring basic routine procedures required for officers dealing

with informants in undercover drug investigations.

      88.     Such practices include but are not limited to the fact that the Police

Officer Defendants did not:

       a. conduct a search of Medford before and after the transaction;

       b. give Medford a recording device or otherwise utilize any form of audio

            monitoring, like a wire or microphone;

       c. position themselves in places where they could observe any actual


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            transaction;

       d. require that any interactions between Medford and Plaintiff take place in

            plain view;

       e. record the serial numbers on the $1,900 in bills given to Medford; or

       f. photocopy the $1,900 in bills prior to giving them to Medford.

      89.     Additionally, the Police Officer Defendants allowed Medford to use her

personal cell phone and did not monitor or otherwise verify her communications with

Waller or Plaintiff.

      90.     The Defendant Officers knew that Medford was unreliable and that she

had absconded with the money.

      91.     The Defendant Officers knew they had targeted the wrong —Plaintiff

Sefo Fatai—who was totally innocent,

    Despite Obvious Evidence of Innocence, the Police Officer Defendants
                   Insist on Falsely Prosecuting Plaintiff

      92.     Rather than admitting their mistakes, and that they had lost

department funds and had unlawfully searched and detained a totally innocent

person, the Police Officer Defendants “doubled down” and sought to cover-up their

misconduct by insisting on prosecuting Plaintiff.

      93.     In particular, despite having absolutely no probable cause, the Police

Officer Defendants sought to search Plaintiff further and to secure his arrest and

deliberately put false and/or misleading information into probable cause affidavits

and intentionally omitted information that would have illustrated the absence of

probable cause and that Plaintiff was innocent.
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      94.    For example, the Police Officer Defendants wrote reports suggesting

Medford had approached them implicating Plaintiff, when, in fact, Defendants had

either coerced and/or incentivized (though some form of promise or deal) Medford to

serve as an informant, even though she did not want to whatsoever.

      95.    Likewise, the Police Officer Defendant officers falsely claimed that

Medford was a reliable informant, when they knew that she was not.

      96.    In the same vein, and to bolster their other deceptions, Defendants

claimed Medford had been utilized as an informant on prior investigations for some

six months before the rendezvous involving Plaintiff, when this was false—she had

never assisted on any other cases, was coerced and/or incentivized into doing so

here, and then provided no helpful information but actually took off with the

money.

      97.    In their warrant applications, the Police Officer Defendants also

omitted the fact that they had coerced Medford to participate and that Plaintiff was

searched immediately after the purported transaction but had no drugs or buy

money whatsoever.

      98.    The Police Officer Defendants repeated these lies, omissions, and

misrepresentations from their probable cause affidavits in their police reports

about the investigation of Plaintiff.

      99.    Defendants never disclosed to Plaintiff or his defense attorneys or

even prosecutors the entirety of their tactics with Medford, the types of promises

they made to her, or the fact they had lied in affidavits and police reports.


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      100.   Upon information and belief, despite knowing Plaintiff was innocent,

and having learned so during the first “buy” effort, the Police Officer Defendants,

with the approval of the Supervisor HPD Defendants, went back to Medford and

forced and/or further incentivized her with a deal to again attempt a controlled buy

with Plaintiff.

      101.   This time, upon information and belief, and despite evidence of

Plaintiff’s innocence the Police Officer Defendants specifically required that

Medford attempt to implicate “Junior” a second time.

      102.   Two days after the first failed “buy,” the Police Officer Defendants had

Medford set up another meeting with Plaintiff by making a phone call. Again, the

Police Officer Defendants did not monitor the call.

      103.   The meeting spot was the Foodland parking lot in Ewa Beach.

      104.   Knowing they could not trust Medford with any money (and despite

their false claims she was trustworthy in the probable cause affidavits and their

fabricated reports), the Police Officer Defendants knew they needed to attempt to

“catch” Plaintiff with drugs himself if they were going to be able to have any chance

of pinning the prior two ounces of meth on Plaintiff.

      105.   But, this plain was obviously fraught: Plaintiff had no drugs, and

though he was merely trying to get money on behalf of Waller, due to the $100 debt

Medford owed. Plaintiff was also obviously innocent.

      106.   This time, when Plaintiff pulled into the parking lot of Foodland and

parked his car, the Police Officer Defendants approached Plaintiff’s driver’s side


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door and ordered Plaintiff out of the car.

       107.   As he was being detained and his car was searched Plaintiff was

repeatedly asked “where is the dope” and “where is the money.”

       108.   Plaintiff honestly responded that he did not have either.

       109.   Defendants were able to confirm this fact as well.

       110.   For the second time in a matter of a few days, Plaintiff and Plaintiff’s

car were thoroughly searched. Again, no money, drugs, or contraband was found on

Plaintiff or in Plaintiff’s car.

       111.   Plaintiff was obviously innocent and there was no evidence to suggest

he was involved in trafficking methamphetamines, a fact that this “surprise” search

of Plaintiff and his car yet again confirmed.

       112.   Plaintiff’s obvious innocence and the lack of evidence did not stop

Defendants from falsely arresting Plaintiff, despite the absence of probable cause to

suspect him of a crime.

       113.   Instead, while the Police Officer Defendants knew Medford was not

trustworthy and that Plaintiff was innocent, they still had to attempt to make up

for their mistakes, including the fact they had lost the $1,900 in buy money.

       114.   Had the Police Officer Defendants revealed their lies (in their police

reports and probable cause affidavits) and misconduct (particularly in how they

coerced and/or incentivized Medford), Plaintiff never would have been charged with

a crime. Instead, in fabricating evidence, Defendants built a false case around

Plaintiff, despite his obvious innocence.


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       115.   To this day, Defendants have failed to admit the extent of their own

misconduct and the entire scope of the actions they took (including in fabricating

evidence and in manipulating Medford) to falsely implicate Plaintiff.

       116.   Nonetheless, because they were part and parcel of the practices of the

Honolulu Police Department and Honolulu, the Supervising HPD Defendants

approved the acts, omissions, and conduct of the Police Officer Defendants.

       117.   Having already decided to focus on Plaintiff, and having already

unlawfully stopped him twice, the Police Officer Defendants, with approval of the

Supervising HPD officers directly, agreed to arrest, charge, and prosecute Plaintiff

for crimes they knew he did not commit.

       118.   Indeed, the Police Officer Defendants ignored best practices, and even

written HPD policies for their own faulty practices, which were approved of by the

Supervising HPD Defendants.

       119.    Upon arresting Plaintiff, the Police Officer Defendants illegally seized

Plaintiff’s automobile, a 1999 Lexus, without probable cause and subjected his car to

“forfeiture” as a result of drug dealing, even though that was untrue and there was no

lawful basis of justification for so doing.

       120.    To support this “forfeiture,” the Police Officer Defendants repeated the

lies they put in other documents, including their warrant affidavits and police reports,

falsely implicating Plaintiff, omitting their misconduct, and mischaracterizing the

result of their work that illustrated Plaintiffs’ innocence.




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                      Criminal Proceedings Against Plaintiff

      121.    Based upon the false, misleading, and fabricated evidence and warrant

applications Plaintiff was indicted for a serious felony—methamphetamine trafficking.

      122.   Despite knowing that the Police Officer Defendants had not followed the

written policy for informant controlled buys but acted according to unlawful practices

of the City, the Supervising HPD Defendants authorized, approved of, and endorsed

the the false and flawed investigation reports and documents, which were used to

further the prosecution of Plaintiff.

      123.   Between 2011 and 2108 Plaintiff was subject to ongoing criminal

prosecution for drug trafficking crimes he did not commit, where he was forced to sit

through numerous criminal proceedings, including four trials, based upon fabricated

evidence and false and misleading probable cause affidavits.

      124.   Upon information and belief, to attempt to get Medford to provide false

and misleading testimony in an effort to secure Plaintiff’s wrongful conviction, the

Police Officer Defendants continued to use threats and pressure to attempt to coerce

her to testify and commit perjury by saying Plaintiff sold her drugs when, in fact, he

had not and the Police Officer Defendants knew he had not as well.

      125.    For example, in 2014 Medford was arrested once again by officers of the

Honolulu Police Department for possessing drugs and paraphernalia. To avoid these

charges, and through additional agreement and threats by the Police Officer

Defendants, Medford was pressured to testify against Plaintiff at his second criminal

trial, and to make up additional false allegations against Plaintiff, which she did.

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      126.    As a result, additional conditions were placed upon Plaintiff’s bond, and

his bond was eventually revoked and Plaintiff was incarcerated at the Oahu

Community Correctional Center, where he then spent three years imprisoned fighting

the bogus charges, including after the second trial resulted in a mistrial and the third

trial ended in a hung jury. Between the third and fourth trials Plaintiff was offered a

plea for credit for time served and probation, but Plaintiff refused to plead guilty to

something he did not do, and so his case was scheduled for a fourth trial which ended

when Medford refused to appear.

      127.    It was not until January of 2018 when the bogus drug charges were

finally dismissed with prejudice.

      128.    Upon information and belief, even after Plaintiffs arrest and the charges

against him, Medford was also offered additional deals in exchange for testifying

against Plaintiff, including mere probation on other serious drug charges resulting

from the 2014 arrest. The terms of these deals were never provided to Plaintiff or his

criminal defense attorney, even as the cause proceeded to trial.

      129.    Had Defendants disclosed their own misconduct, the deals they offered

to Medford, and that they knowingly prosecuted an innocent man, Plaintiff would

have never been arrested let alone prosecuted or made to stand trial four times for

crimes he did not commit.

                    The City’s Policies, Practices, and Customs

      130.   As a matter of practice, the City permits officers to present false evidence

in support of criminal charges that should never have been brought.


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       131.   For example, in July 2013, Defendant Kealoha and other Honolulu Police

Department undercover officers engaged in filing false reports resulting in an innocent

man, Gerard Puana, being charged with a federal crime for allegedly stealing

Defendant Kealoha mailbox. On June 27, 2019, Defendant Kealoha, and other

Honolulu Police Department officers were found guilty of conspiracy and obstruction

of justice in that case.

       132.   Upon information and belief, the prosecution of Plaintiff falls into a

similar practice of what happened to by Defendant Kealoha in Puana’s case.

       133.   In particular, HPD permits its officers and encourages certain witnesses,

like Medford, to intentionally cause mistrials to attempt to force people to accept pleas

to avoid criminal prosecution that should have never been brought. In this case, acting

as a result of the pressure and coercion and/or undisclosed incentives and deals made

by the Police Officer Defendants, Medford attempted to, and was able to, obtain a

mistrial.

       134.    Likewise, Defendant Kealoha, the policymaker for the City, actively

engaged in similar tactics of intentionally causing mistrials in order to cover up

official police misconduct and keep the truth buried. In December 2104, in the federal

trial U.S.A. v. Gerard Puana (case no: 1:13-cr-00735), Defendant Kealoha was called

as a witness for the Government. Defendant Kealoha intentionally testified in a

manner that he knew would cause a mistrial, which in fact caused a mistrial.

Defendant Kealoha intentionally caused the mistrial to prevent the court from

discovering that he and other undercover police officers falsified reports in order to


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charge Gerard Puana with a federal crime, despite knowing Gerard Puana was

innocent.

      135.   The Honolulu Police Department under Defendant Kealoha had a policy

and practice of knowingly causing mistrials to cover up their own wrongdoings, and

this policy and practice was used by Medford in Plaintiff’s second trial in 2015.

      136.   Separately, under Hawai‘i Revised Statute § 712A, the Honolulu Police

Department has a large financial stake in forfeiture. The Honolulu Police Department

receives 25% of forfeiture proceeds, with 25% going to the prosecuting attorneys, and

50% going to the Attorney General for the State of Hawai‘i.

      137.   The Honolulu Police Department has a policy and practice of using

Hawai‘i Revised Statute § 712A as a way to generate profit and seize property of

citizens without probable cause or reasonable suspicion of illegal activity, in violation

of the Fourth Amendment of the Constitution of the United States.

      138.   From 2001 to 2014, the Honolulu Police Department accounted for 46.5%

of the asset forfeitures in the entire state of Hawai‘i, more than any other police

department or state agency.

      139.   Many citizens, such as Plaintiff, cannot afford to pay either the required

up front bond of $2,500.00 or 10% of the estimated value of the property seized,

therefore allowing the Honolulu Police Department to take from the poor without any

oversight to ensure that the process is fair.

      140.   Plaintiff’s vehicle was taken by Defendants and “forfeited,” without

probable cause; and, even though he is innocent of the charges and never convicted.


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Using Hawai‘i Revised Statute § 712A in the manner done by Defendants is unlawful

and done to enrich the City for profit and ill-gotten gains it should have never had

and, should return at any rate.

      141.   Nonetheless, Defendants have refused to return Plaintiff’s “forfeited”

items, including his car. Because Defendants use the forfeiture statute for profit, they

have no mechanisms for innocent citizens, like Plaintiff, to obtain their seized

property, even when the person is innocent and the criminal charges have been

dismissed.

      142.   Instead, it is the practice and custom of the City, which Defendants

invoked here, to refuse to return seized items, even if seized unlawfully and even

following the completion of a criminal case that is later dismissed.

      143.   Upon information and belief, even after the charges against Plaintiff

were dismissed with prejudice, the City, including through the actions of the

Supervising HPD Defendants, have approved the conduct of the Police Officer

Defendants here, including the Individual Defendants decisions to put false and

misleading information in warrant applications, in police reports, in coercing and

manipulating witnesses, and in failing to disclose exculpatory evidence (including

officers’ own misconduct as well as “deals” made in exchange for false inculpatory

testimony), the practice of causing mistrials to apply pressure to innocent defendants

to accept false pleas, and in seeking prosecution of people without probable cause.

                                  Plaintiff’s Damages

      144.    Plaintiff suffered over seven years fighting the bogus charges and


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prosecution that were perpetrated against him by the Police Officer Defendants, with

the approval of the Supervising HPD Defendants, and pursuant to the practices of

Honolulu.

      145.    Three of those years Plaintiff suffered in custody, where he was faced

with terrible conditions due to over-crowding at the Oahu Community Correctional

Center, including sleeping on the floor near toilets, the threat of violence from other

inmates, and the restraint upon his liberty. While detained, Plaintiff was deprived of

all of the basic pleasures of human experience, which all free people enjoy as a matter

of right, including the freedom to live one’s life as an autonomous human being.

      146.   As a result of these charges, Plaintiff’s life was truly upended. In addition

to causing Plaintiff the severe trauma of wrongful imprisonment and the stress of

charges hanging over his head for years while out on bond, loss of his liberty, and

reputational harm, the Defendants’ misconduct continues to cause Plaintiff physical

and psychological pain and suffering, humiliation, fear, nightmares, anxiety,

depression, and despair, rage, and other physical and psychological effects and he has

suffered emotional harm and great anguish, which continues to this day.

                                      COUNT I
               42 U.S.C. § 1983 – Illegal Detention and Prosecution
                       Against the Individual Defendants

      147.   Plaintiff incorporates each paragraph of this complaint as if restated fully

herein.

      148.   In the manner described more fully above, the Individual Defendants,

individually, jointly, and in conspiracy with each other, as well as under color of law


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and within the scope of their employment, accused Plaintiff of criminal activity and

exerted influence to initiate, continue, and perpetuate judicial proceedings against

Plaintiff without any probable cause for doing so and in spite of the fact that they

knew Plaintiff was innocent, in violation of his rights secured by the Fourth and

Fourteenth Amendments.

      149.   In so doing, the Individual Defendants caused Plaintiff to be deprived of

his liberty and detained without probable cause and subjected improperly to judicial

proceedings for which there was no probable cause. Plaintiff was deprived of his

liberty, after the issuance of process based upon Defendants false and/or misleading

affidavits and statements both while awaiting trial while on bond and, later, when he

was jailed for more than three years.

      150.   The misconduct described in this count was objectively unreasonable and

was undertaken intentionally and with malice.

      151.   As a result of the Police Officer Defendants’ misconduct described in this

Count, Plaintiff suffered loss of liberty, great mental anguish, humiliation,

degradation, physical and emotional pain and suffering, and other grievous and

continuing injuries and damages.

      152.   The Police Officer Defendants’ misconduct described in this count was

undertaken pursuant to Honolulu’s policies and practices, which are more fully

described below.

                                   COUNT II
     42 U.S.C. § 1983 —Illegal Seizure Against the Individual Defendants

      153.    Plaintiff incorporates each paragraph of this complaint as if fully stated
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herein.

      154.   In the manner described more fully above, the Individual Defendants,

while acting individually, jointly, and/or in conspiracy with each other, as well as

under color of law and within the scope of their employment, deprived Plaintiff of his

Fourth Amendment constitutional right to his own property when, without probable

cause, they unlawfully used asset forfeiture to seize items belonging to Plaintiff and

never return them, even after all of the charges against Plaintiff have been dismissed.

      155.   The misconduct described in this count was objectively unreasonable and

was undertaken intentionally, with malice, with reckless indifference to the rights of

others, and with total disregard for the truth and Plaintiff’s clear innocence.

      156.   As a result of the Defendants’ misconduct described in this count,

Plaintiff suffered loss of property and money, and suffered mental anguish,

humiliation, degradation, physical and emotional pain and suffering, and other

grievous and continuing injuries and damages.

      157.   The Individual Defendants’ misconduct described in this count was

undertaken pursuant to Honolulu’s policies and practices, which are more fully

described below.

                                    COUNT III
   42 U.S.C. § 1983 – Violations of the Fourteenth Amendment, Due Process
                       Against the Individual Defendants

      158.   Plaintiff incorporates each paragraph of this complaint as if restated fully

herein.

      159.   As described, the Individual Defendants, while acting individually,


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jointly, and/or in conspiracy with each other, as well as under color of law and within

the scope of their employment, deprived Plaintiff of his constitutional right to due

process and his right to a fair trial.

       160.   In the manner described more fully above, the Individual Defendants

withheld exculpatory and impeachment from Plaintiff, his attorneys, and prosecutors,

among others, thereby misleading and misdirecting Plaintiff’s criminal prosecution,

including: evidence of coercion and threats made to manipulate witnesses to falsely

implicate Plaintiff despite knowing he was innocent; evidence of deals and promises

made to incentivize false inculpatory testimony against Plaintiff; their own

misconduct in coercing and fabricating evidence and testimony; and that they had

fabricated police reports and warrant affidavits.

       161.   The Individual Defendants knew there was no credible evidence tying

Plaintiff to drug trafficking of methamphetamine. Had they disclosed this exculpatory

evidence, the evidence would have proved Plaintiff’s innocence, cast doubt on the

entire police investigation and prosecution, and led to the end of Plaintiff’s detention

and prosecution.

       162.   In addition, on information and belief, the Individual Defendants

concealed and fabricated additional evidence that is not yet known to Plaintiff.

       163.   In addition, as described more fully above, the Individual Defendants

fabricated and solicited false evidence, including witness statements and testimony

they knew to be false, fabricated police reports and other evidence falsely implicating

Plaintiff, obtained charges against Plaintiff, forced Plaintiff to endure four criminal


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trials and spend years imprisoned in jail based upon that false evidence, and failed to

correct fabricated evidence they knew to be false when it was used against Plaintiff

during his criminal prosecution, including at his trials. In fabricating evidence, the

Individual Defendants also used coercive and improper tactics they knew were likely

to lead to the generation of false and unreliable evidence, and continued to generate

and rely upon such evidence despite knowing Plaintiff was innocent.

      164.      The Individual Defendants performed the above-described acts under

color of state law, deliberately, intentionally, with malice or reckless disregard for the

truth and Plaintiff’s rights and with deliberate indifference to Plaintiff’s clearly

established constitutional rights.

      165.      As a result of the Individual Defendants’ misconduct described in this

Count, Plaintiff suffered loss of liberty, great mental anguish, humiliation,

degradation, physical and emotional pain and suffering, and other grievous and

continuing injuries and damages.

      166.      The Individual Defendants’ misconduct described in this count was

undertaken pursuant to Honolulu’s policies and practices, which are more fully

described below.

                                       COUNT IV
                         42 U.S.C. § 1983 – Failure to Intervene
                          Against the Individual Defendants

      167.      Plaintiff incorporates each paragraph of this complaint as if restated

fully herein.

      168.      In the manner described above, during the constitutional violations


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described above, one or more of the Individual Defendants stood by without

intervening to prevent the violation of Plaintiff’s constitutional rights, even though

they had the duty and the opportunity to do so.

       169.     These Individual Defendants had a duty and reasonable opportunity to

prevent this harm to Plaintiff, but they failed to do so.

       170.     The misconduct described in this count was objectively unreasonable and

was undertaken intentionally with willful indifference to Plaintiff’s constitutional

rights.

       171.     As a result of the Individual Defendants’ failure to intervene to prevent

the violation of Plaintiff’s constitutional rights, Plaintiff suffered loss of liberty, great

mental anguish, humiliation, degradation, physical and emotional pain and suffering,

and other grievous and continuing injuries and damages as set forth above.

       172.     The Individual Defendants’ misconduct described in this count was

undertaken pursuant to Honolulu’s policies and practices, which are more fully

described below.

                                       COUNT V
                             42 U.S.C. § 1983 – Conspiracy
                         Against the Police Officer Defendants

       173.     Plaintiff incorporates each paragraph of this complaint as if restated

fully herein.

       174.     The Individual Defendants reached an agreement among themselves to

frame Plaintiff for drug trafficking crimes he did not commit, and thereby to deprive

Plaintiff of his constitutional rights, as described above. This agreement was first


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reached before arresting Plaintiff, and it remained in place throughout all periods of

his wrongful detention, prosecution, and incarceration.

      175.   In addition, the Individual Defendants conspired before Plaintiff’s arrest,

and continued to conspire after he was charged and through various phases of his

criminal prosecution to deprive Plaintiff of exculpatory material to which he is

entitled and that would have led to his earlier exoneration.

      176.   In this manner, the Individual Defendants, acting in concert with each

other and with other co-conspirators, known and unknown, conspired by concerted

action to accomplish an unlawful purpose and/or a lawful purpose by unlawful means.

      177.   In furtherance of the conspiracy, each co-conspirator committed overt

acts and was an otherwise willful participant in joint activity.

      178.   As a result of this illicit prior agreement, Plaintiff suffered loss of liberty,

great mental anguish, humiliation, degradation, physical and emotional pain and

suffering, and other grievous and continuing injuries and damages as set forth above.

      179.   The misconduct described in this count was objectively unreasonable and

was undertaken intentionally and with willful indifference to Plaintiff’s constitutional

rights.

      180.   The Individual Defendants’ misconduct described in this count was

undertaken pursuant to Honolulu’s policies and practices, which are more fully

described below.

                                    COUNT VI
                    42 U.S.C. § 1983 – Policy & Custom Claims
                                 Against Honolulu


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      181.   Plaintiff incorporates each paragraph of this complaint as if fully

restated herein.

      182.   Plaintiff’s injuries described in this complaint and the violations of his

constitutional rights discussed above were caused by the policies and customs of

Honolulu, as well as by the actions of policy-making officials for Honolulu.

      183.   At all times relevant to the events described in this complaint and for a

period of time before and after, Honolulu failed to promulgate proper or adequate

rules, regulations, policies, and procedures governing: the conduct of officers in using

informants, setting up “controlled buys,” the collection, documentation, preservation,

testing, and disclosure of evidence, including physical evidence, material exculpatory

evidence and impeachment evidence, and information bearing upon the credibility of

both lay and law-enforcement witnesses; writing of police reports and taking of

investigative notes; obtaining statements and testimony from witnesses; and the

maintenance of investigative files and disclosure of those files in criminal proceedings.

      184.   In addition or alternatively, Honolulu failed to promulgate proper and

adequate rules, regulations, policies, procedural safeguards, and procedures for the

training and supervision of officers and agents of the Honolulu Police Department,

with respect to using informants, setting up “controlled buys,” techniques to be used

when questioning criminal suspects and witnesses; the production and disclosure of

evidence, including physical evidence, material exculpatory evidence and

impeachment evidence, and information bearing upon the credibility of both lay and

law-enforcement witnesses; the writing of police reports and taking of investigative


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notes; obtaining statements and testimony from witnesses; and the maintenance of

investigative files and disclosure of the files in criminal proceedings.

      185.   Honolulu has also adopted unwritten practices, despite its written

policies, that allow officers to using informants, setting up “controlled buys,” produce

false and misleading documents, and otherwise target investigations at innocent

people, as described above, making its written guidance entirely ineffective.

      186.   Officers and agents of Honolulu committed these failures to promulgate

proper or adequate rules, regulations, policies, and procedures and the adoption of

unwritten practices “off the books.” Honolulu promulgated and enforced appropriate

policies and practices, then the violation of Plaintiff’s constitutional rights would have

been prevented.

      187.   In addition, at all times relevant to the events described in this

complaint and for a period of time before, Honolulu had notice of a practice and

custom by officers and agents of the Honolulu Police Department and City and County

of Honolulu pursuant to which individuals suspected of criminal activity, like

Plaintiff, were falsely implicated in crimes they did not commit through the use of

unreliable informants and other people actually involved in drug trafficking.

      188.   In addition, at all times relevant to the events described in this

complaint and for a period of time before, Honolulu had notice of practices and

customs of officers and agents of the Honolulu Police Department and City and

County of Honolulu, that included one or more of the following: (1) officers did not

record investigative information in police reports, did not maintain proper


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investigative files, and/or did not disclose investigative or other materials to

prosecutors and criminal defendants; (2) officers falsified statements and testimony of

witnesses; (3) officers fabricated false evidence implicating criminal defendants in

criminal conduct; (4) officers failed to maintain and/or preserve evidence and/or

destroyed evidence, including physical evidence; and/or (5) officers pursued wrongful

prosecution through profoundly flawed investigations.

       189.   These practices and customs, individually and/or together, were allowed

to flourish because the leaders, supervisors, and policymakers of the County of

Riverside and/or the County of San Bernardino directly encouraged and were thereby

the moving force behind the very type of misconduct at issue by failing to adequately

train, supervise, and control their officers, agents, and employees on proper

interrogation techniques and by failing to adequately punish and discipline prior

instances of similar misconduct, thus directly encouraging future abuses like those

affecting Plaintiff.

       190.   The above practices and customs, so well settled as to constitute de facto

policies of Honolulu, were able to exist and thrive, individually and/or together,

because policymakers with authority over the same exhibited deliberate indifference

to the problem, thereby effectively ratifying it.

       191.   In addition, the misconduct described in this count was undertaken

pursuant to Honolulu’s policies and practices in that the constitutional violations

committed against Plaintiff were committed with the knowledge, approval, or

endorsement of persons with final policymaking authority for the City and County of


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Honolulu or were actually committed by persons with such final policymaking

authority.

      192.      As a consequence, the final policy makers for Honolulu approved of,

adopted, and therefore ratified the actions of the Individual Defendants, including

their violations of Plaintiff’s constitutional rights, making the City and County of

Honolulu liable for this misconduct. In fact, on information and belief, rather than

taking steps to correct the obvious faults and failures with the investigation, including

through training or discipline, the final policy makers for Honolulu further ratified

the actions of the Individual Defendants by continuing to employ them, promote them,

and approve of their work on the prosecution of Plaintiff that resulted in Plaintiff’s

wrongful arrest, prosecution, incarceration, and harm.

      193.      Plaintiff’s injuries and the constitutional violations he suffered were

caused by officers, agents, and employees of Honolulu, including but not limited to the

Individual Defendants, who acted pursuant to one or more of the policies, practices,

and customs set forth above in engaging in the misconduct described in this count.

                                  COUNT VII
         State Law Claim – Intentional Infliction of Emotional Distress
                      Against the Individual Defendants

      194.      Plaintiff incorporates each paragraph of this complaint as if restated

fully herein.

      195.      The Individual Defendants’ actions and conduct as set forth above were

intentional, reckless, extreme, and outrageous. The Individual Defendants’ actions

were rooted in an abuse of power or authority, and were undertaken with intent to


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cause, or were in reckless disregard for the probability that they would cause Plaintiff

severe emotional distress, as more fully alleged above.

      196.      As an actual and proximate result of the Individual Defendants’ actions,

Plaintiff suffered and continues to suffer severe emotional distress.

                                COUNT VIII
         State Law Claim – Negligent Infliction of Emotional Distress
                     Against the Individual Defendants

      197.      Plaintiff incorporates each paragraph of this complaint as if restated

fully herein.

      198.      Alternatively, the Individual Defendants’ actions and conduct as set forth

above were negligent but still extreme, and outrageous. The Individual Defendants’

actions were rooted in an abuse of power or authority, and were undertaken

negligently and with disregard for the probability that they would cause Plaintiff

severe emotional distress, as more fully alleged above.

      199.      As an actual and proximate result of the Individual Defendants’ actions,

Plaintiff suffered and continues to suffer severe emotional distress.

                                       COUNT IX
                           State Law Claim – Civil Conspiracy
                           Against the Individual Defendants

      200.      Plaintiff incorporates each paragraph of this complaint as if restated

fully herein.

      201.      As described more fully above, the Individual Defendants, acting in

concert with other co-conspirators, known and unknown, reached an agreement

among themselves to frame Plaintiff for a crime he did not commit and conspired by


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concerted action to accomplish an unlawful purpose by unlawful means. In addition,

these co-conspirators agreed among themselves to protect one another from liability

for depriving Plaintiff of his rights.

       202.     In furtherance of the conspiracy, each of the co-conspirators committed

overt acts and was otherwise a willful participant in joint activity.

       203.     The violations of Hawaii law described in this complaint, including but

not limited to the Individual Defendants’ malicious prosecution of Plaintiff and their

infliction of emotional distress, were accomplished by Defendants’ conspiracy.

       204.     The misconduct described in this count was objectively unreasonable and

was undertaken intentionally and with willful indifference to Plaintiff’s constitutional

rights.

       205.     As a result of the Individual Defendants’ misconduct described in this

count, Plaintiff suffered loss of liberty, great mental anguish, humiliation,

degradation, physical and emotional pain and suffering, and other grievous and

continuing injuries and damages.

                                      Count X
                      State Law Claim — Malicious Prosecution

       206.     Plaintiff incorporates each paragraph of this complaint as if restated

fully herein.

       207.     The Individual Defendants actions and conduct as set forth above were

malicious, as they maliciously initiated proceedings against the Plaintiff without

probable cause, resulting in Plaintiff’s wrongful detention and prosecution until the

charges were ultimately dismissed and the criminal prosecuted terminated in
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Plaintiff’s favor, as more fully alleged above.

      208.      As a result of the Individual Defendants’ misconduct described in this

count, Plaintiff suffered loss of liberty, great mental anguish, humiliation,

degradation, physical and emotional pain and suffering, and other grievous and

continuing injuries and damages.

                                        Count XI
                          State Law Claim —Abuse of Process
                           Against the Individual Defendants

      209.      Plaintiff incorporates each paragraph of this complaint as if restated

fully herein.

      210.      The Individual Defendants’ after initiating proceedings against the

Plaintiff, continued to commit multiple willful actions for the improper purpose of

prosecuting Plaintiff for a crime he did not commit, as more fully alleged above. The

Individual Defendants used the courts, including with their authority as law

enforcement officers for the City of Honolulu to cause pain and harm to Plaintiff

despite his innocence and for an improper purpose.

      211.      As a result of the Individual Defendants’ misconduct described in this

count, Plaintiff suffered loss of liberty, great mental anguish, humiliation,

degradation, physical and emotional pain and suffering, and other grievous and

continuing injuries and damages.

                                     COUNT XII
                        State Law Claim –Respondeat Superior
                                  Against Honolulu

      212.      Plaintiff incorporates each paragraph of this complaint as if restated


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fully herein.

      213.      Plaintiff suffered the aforementioned injuries as a proximate result of the

Individual Defendants’ misconduct.

      214.      During all relevant times, the Individual Defendants were employees

and agents of the Honolulu Police Department and the City and County of Honolulu,

acting within the scope of their employment or agency.

      215.      Defendant Honolulu is liable as principal for all torts committed by its

agents.

                                     COUNT XIII
                           State Law Claim –Indemnification
                                   Against Honolulu

      216.      Plaintiff incorporates each paragraph of this complaint as if restated

fully herein.

      217.      The City of Honolulu has a duty to pay any tort judgment for

compensatory damages for which employees are liable within the scope of their

employment activities, which Honolulu does as a matter of established practice.

      218.      At all relevant times, the Individual Defendants were employees of the

Honolulu Police Department and/or the County and City of Honolulu who acted

within the scope of their employment in committing the misconduct described herein.

          WHEREFORE, Plaintiff SEFO FATAI, respectfully requests this Court enter a

 judgment in his favor and against Defendants CITY AND COUNTY OF

 HONOLULU, POLICE CHIEF LOUIS KEALOHA, SERGEANT EDGAR NAMOCA,

 LIEUTENANT MARK KAWASAKI, OFFICER MARK RAMOS; OFFICER


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 FUMIKAZU MARAOKA, OFFICER JOSHUA NAHULU, OFFICER B. SUGAI, and

 JOHN and/or JANE DOES 1-10 , awarding compensatory damages, attorneys’ fees

 and costs against each defendant, and, because they acted willfully, wantonly, and/or

 maliciously, punitive damages against each of the individual defendants, and any

 other relief this Court deems just and appropriate, including but not limited to

 injunctive and equitable relief against the City of Honolulu.

                                    JURY DEMAND

       Plaintiff SEFO FATAI hereby demands a trial by jury pursuant to Federal

 Rule of Civil Procedure 38(b) on all issues so triable.


DATED: September 14, 2020.

                                                 SEFO FATAI


                                                 By: /s/ David B. Owens




JENNIFER BROWN, #10885
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First Amended Complaint
